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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN



Bmark 2020−B20 Ring Road,
LLC,

                                   Plaintiff(s),
v.                                                     Case No. 2:24−cv−11670−GAD−KGA
                                                       Hon. Gershwin A. Drain
Boruch Drillman,

                                   Defendant(s),



                               NOTICE TO APPEAR REMOTELY

  PLEASE TAKE NOTICE that a remote hearing has been scheduled before District Judge
Gershwin A. Drain as follows:

      • SCHEDULING CONFERENCE: January 8, 2025 at 11:00 AM

    The Court will host the hearing. Prior to the proceeding date, instructions for joining the
hearing will be emailed to the participating attorneys. Be advised that this is an
attorneys−only proceeding. Connection information and instructions may not be forwarded,
distributed or shared with non−participants without the Court’s advance approval.



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/Marlena A Williams
                                                   Case Manager

Dated: November 25, 2024
